      Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 1 of 13




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

RICHARD ROEGNER,                                     )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No.
LH (STUEBNER), LTD.,                                 )
                                                     )
                       Defendant.                    )

                                         COMPLAINT

       COMES NOW, RICHARD ROEGNER, by and through the undersigned counsel, and

files this, his Complaint against Defendant, LH (STUEBNER), LTD., pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                            PARTIES

       2.      Plaintiff, RICHARD ROEGNER (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.



                                                 1
       Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 2 of 13




        5.     Plaintiff uses a wheelchair for mobility purposes.

        6.     Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

        7.     Defendant, LH (STUEBNER), LTD. (hereinafter “LH (STUEBNER), LTD.”), is

a Texas limited company that transacts business in the State of Texas and within this judicial

district.

        8.     Defendant, LH (STUEBNER), LTD., may be properly served with process for

service via its Registered Agent, to wit: c/o CYS Business Solutions, LLC, Registered Agent,

5302 Valley Country Lane, Sugar Land, TX 77479.

                                  FACTUAL ALLEGATIONS

        9.     On or about December 19, 2020, Plaintiff was a customer at “Fiesta” a business

located at 1728 W. Mt. Houston, Houston, TX 77038, referenced herein as “Fiesta”. Attached

is a receipt documenting Plaintiff’s purchase. See Exhibit 1. Also attached is a photograph

documenting Plaintiff’s visit to the Property. See Exhibit 2.

        10.    Defendant, LH (STUEBNER), LTD., is the owner of the real property and

improvements that Fiesta is situated upon and that is the subject of this action, referenced herein

as the “Property.”



                                                 2
      Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 3 of 13




       11.     Plaintiff lives 5 miles from the Property.

       12.     Plaintiff’s access to the business(es) located 1728 W. Mt. Houston, Houston, TX

77038, Harris County Property Appraiser’s property identification number 0092210180008 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, LH (STUEBNER), LTD., is compelled to remove the physical barriers to access and

correct the ADA violations that exist at the Property, including those set forth in this Complaint.

       13.     Defendant, LH (STUEBNER), LTD., as property owner, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, LH (STUEBNER), LTD. and the tenant allocating

responsibilities for ADA compliance within the unit the tenant operates, that lease is only

between the property owner and the tenant and does not abrogate the Defendant’s independent

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property is accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property is made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes, but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting



                                                 3
      Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 4 of 13




the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

                                        COUNT I
                            VIOLATIONS OF THE ADA AND ADAAG

          17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

          18.     Congress found, among other things, that:

          (i)     some 43,000,000 Americans have one or more physical or mental
                  disabilities, and this number is increasing as the population as a whole is
                  growing older;

          (ii)    historically, society has tended to isolate and segregate individuals with
                  disabilities, and, despite some improvements, such forms of discrimination
                  against individuals with disabilities continue to be a serious and pervasive
                  social problem;

          (iii)   discrimination against individuals with disabilities persists in such critical
                  areas as employment, housing public accommodations, education,
                  transportation, communication, recreation, institutionalization, health
                  services, voting, and access to public services;

          (iv)    individuals with disabilities continually encounter various forms of
                  discrimination, including outright intentional exclusion, the discriminatory
                  effects of architectural, transportation, and communication barriers,
                  overprotective rules and policies, failure to make modifications to existing
                  facilities and practices, exclusionary qualification standards and criteria,
                  segregation, and relegation to lesser service, programs, activities, benefits,
                  jobs, or other opportunities; and

          (v)     the continuing existence of unfair and unnecessary discrimination and
                  prejudice denies people with disabilities the opportunity to compete on an
                  equal basis and to pursue those opportunities for which our free society is


                                                    4
      Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 5 of 13




               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).



                                                5
      Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 6 of 13




       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       28.     Defendant, LH (STUEBNER), LTD., has discriminated against Plaintiff (and

others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       29.     Defendant, LH (STUEBNER), LTD., will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, LH (STUEBNER), LTD., is



                                                 6
      Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 7 of 13




compelled to remove all physical barriers that exist at the Property, including those specifically

set forth herein, and make the Property accessible to and usable by Plaintiff and other persons

with disabilities.

        30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

        (i)     In front of K & M Liquor, the accessible parking space and associated access aisle

                have a slope in excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG

                standards and are not level. This violation would make it dangerous and difficult

                for Plaintiff to exit and enter their vehicle while parked at the Property.

        (ii)    In front of K & M Liquor, there is one parking space that are missing an

                identification sign in violation of Section 502.6 of the 2010 ADAAG standards.

                This violation would make it difficult for Plaintiff to locate an accessible parking

                space.

        (iii)   In front of K & M Liquor, the access aisle to the accessible parking space is not

                level due to the presence of an accessible ramp in the access aisle in violation of

                Section 502.4 of the 2010 ADAAG standards. This violation would make it

                dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

                the Property.




                                                  7
Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 8 of 13




 (iv)     In front of K & M Liquor, the accessible curb ramp is improperly protruding into

          the access aisle of the accessible parking space in violation of Section 406.5 of the

          2010 ADAAG Standards. This violation would make it difficult and dangerous

          for Plaintiff to exit/enter their vehicle.

 (v)      In front of K & M Liquor, the Property has an accessible ramp leading from the

          accessible parking space to the accessible entrances with a slope exceeding 1:10

          in violation of Section 405.2 of the 2010 ADAAG standards. This violation would

          make it dangerous and difficult for Plaintiff to access the units of the Property.

 (vi)     In front of K & M Liquor, the accessible ramp side flares have a slope in excess

          of 1:10 in violation of Section 406.3 of the 2010 ADAAG standards. This

          violation would make it dangerous and difficult for Plaintiff to access the units of

          the Property.

 (vii)    In front of K & M Liquor, one or more accessible parking spaces have a vertical

          rise in excess of ¼ inch, are not level and has unstable surfaces and therefore in

          violation of Sections 303.2 and 502.4 of the 2010 ADAAG standards. This

          violation would make it dangerous and difficult for Plaintiff to exit and enter their

          vehicle while parked at the Property.

 (viii)   In front of Unit 1730 there are two accessible parking spaces which lack an

          accessible route from accessible parking spaces to the accessible entrances of the

          Property in violation of Section 208.3.1 of the 2010 ADAAG standards as there is

          no nearby ramp or other close means by which a disabled individual who parks at

          these accessible parking spaces can access the units due to the raised curb.. This




                                              8
Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 9 of 13




          violation would make it difficult and dangerous for Plaintiff to access the units of

          the Property.

 (ix)     In front of Unit 1730, there are two accessible parking spaces that are missing

          identification signs in violation of Section 502.6 of the 2010 ADAAG standards.

          This violation would make it difficult for Plaintiff to locate an accessible parking

          space.

 (x)      In front of Unit 1730, one of the access aisles serving the accessible parking space

          has a width that is below 60 inches and is therefore in violation of Section 502.3.1

          of the 2010 ADAAG standards. This violation would make it dangerous and

          difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

 (xi)     Near Fiesta Mart, due to a policy of placing of propane tank holders in front of a

          column on the exterior accessible route, there are publicly accessible areas of the

          Property having accessible routes with clear widths below the minimum 36

          (thirty-six) inch requirement as required by Section 403.5.1 of the 2010 ADAAG

          standards. This violation would make it dangerous and difficult for Plaintiff to

          access exterior public features of the Property.

 (xii)    As a result of the barrier to access detailed in (xi) above, the Property lacks an

          accessible route connecting accessible facilities, accessible elements and/or

          accessible spaces of the Property in violation of Section 206.2.2 and 206.2.4 of

          the 2010 ADAAG standards. This violation would make it difficult for Plaintiff to

          access public features of the Property.

 (xiii)   In front of Fiesta Mart, there are two accessible parking spaces have a slope in

          excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG standards and



                                             9
Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 10 of 13




         are not level. This violation would make it dangerous and difficult for Plaintiff to

         exit and enter their vehicle while parked at the Property.

 (xiv)   East of Fiesta Mart main entrance (adjacent to the eastern-most column), due to

         the lack of a nearby ramp, the accessible parking space is not located on the

         shortest distance to the accessible route leading to the accessible entrances in

         violation of Section 208.3.1 of the 2010 ADAAG Standards. This violation would

         make it difficult for Plaintiff to access the units of the Property.

 (xv)    In front of Fiesta Mart, the access aisle to three accessible parking spaces is not

         level due to the presence of an accessible ramp in the access aisle in violation of

         Section 502.4 of the 2010 ADAAG standards. This violation would make it

         dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

         the Property.

 (xvi)   In front of Fiesta Mart, the accessible curb ramp is improperly protruding into the

         access aisle of the three accessible parking spaces in violation of Section 406.5 of

         the 2010 ADAAG Standards.              This violation would make it difficult and

         dangerous for Plaintiff to exit/enter their vehicle.

 (xvii) There is an accessible parking space just west of the large “F” under the Fiesta

         Mart sign that is not located on the shortest distance to the accessible route

         leading to the accessible entrances in violation of Section 208.3.1 of the 2010

         ADAAG Standards due to the lack of a ramp aligned with the access aisle. This

         violation would force a disabled individual to dangerously travel behind parked

         cars to access the units of the Property.




                                           10
     Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 11 of 13




       (xviii) For the access aisle directly underneath the large “F” under the Fiesta Mart sign,

               there is a parking stop located in the access aisle of an accessible parking space

               which improperly encourages parking in the access aisle in violation of Section

               502.3.3 of the 2010 ADAAG standards. This violation would make it difficult for

               Plaintiff to leave a vehicle when parked in this accessible parking space.

       (xix)   The Property lacks an accessible route from the sidewalk to the accessible

               entrance in violation of Section 206.2.1 of the 2010 ADAAG standards. This

               violation would make it difficult for Plaintiff to access the units of the Property.

       (xx)    Defendant fails to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

       31.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.     All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       35.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       36.     Upon information and good faith belief, the removal of the physical barriers and



                                                 11
     Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 12 of 13




dangerous conditions present at the Property is readily achievable because Defendant, LH

(STUEBNER), LTD., has the financial resources to make the necessary modifications.

According to the Property Appraiser, the Appraised value of the Property is $1,926,972.00.

       37.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       38.       Upon information and good faith belief, the Property has been altered since 2010.

       39.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       40.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

LH (STUEBNER), LTD., is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Property, including those alleged herein.

       41.       Plaintiff’s requested relief serves the public interest.

       42.       The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, LH (STUEBNER), LTD.

       43.       Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, LH (STUEBNER), LTD., pursuant to 42 U.S.C. §§ 12188 and 12205.

       44.       Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, LH

(STUEBNER), LTD., to modify the Property to the extent required by the ADA.



                                                   12
Case 4:21-cv-00184 Document 1 Filed on 01/19/21 in TXSD Page 13 of 13




 WHEREFORE, Plaintiff prays as follows:

 (a)   That the Court find Defendant, LH (STUEBNER), LTD., in violation of the ADA

       and ADAAG;

 (b)   That the Court issue a permanent injunction enjoining Defendant, LH

       (STUEBNER), LTD., from continuing their discriminatory practices;

 (c)   That the Court issue an Order requiring Defendant, LH (STUEBNER), LTD., to

       (i) remove the physical barriers to access and (ii) alter the Property to make it

       readily accessible to and useable by individuals with disabilities to the extent

       required by the ADA;

 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and

 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: January 19, 2021

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
                                     Douglas S. Schapiro, Esq.
                                     Southern District of Texas ID No. 3182479
                                     The Schapiro Law Group, P.L
                                     7301-A W. Palmetto Park Rd., #100A
                                     Boca Raton, FL 33433
                                     Tel: (561) 807-7388
                                     Email: schapiro@schapirolawgroup.com




                                        13
